              Case 4:13-md-02420-YGR Document 617 Filed 12/19/14 Page 1 of 2

                                                                      S DISTRICT
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 1                                   UNITED STATES DISTRICT COURT




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 2                                 NORTHERN DISTRICT OF CALIFORNIA




                                                                           UNIT
 3                                                     )                                     DENIED




                                                                                                                          R NIA
     Automation Engineering, LLC, et al.,                           13-MD-02420
                                                       )   Case No: _______________
 4                                                     )
                                     Plaintiff(s),                                                          Ro   ge r s
                                                           APPLICATION FOR                         Gonzalez




                                                                           NO
                                                       )                                       n e
                                                                                        Yv o n
                                                                               J u d ge




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 5                                                     )   ADMISSION OF ATTORNEY
              v.




                                                                             RT
                                                       )   PRO HAC VICE




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 6   LG Chem, Ltd., et al.,                            )   (CIVIL LOCAL RULEE 11-3)




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 7
                                     Defendant(s).     )                                   D IS T IC T        OF
                                                       )                                         R
 8
         I, Daniel D. Owen                           , an active member in good standing of the bar of
 9   the Supreme Court of KS , hereby respectfully apply for admission to practice pro hac vice in the
10   Northern District of California representing: Automation Engineering, LLC               in the
     above-entitled action. My local co-counsel in this case is __________________________________,
                                                                Allan Steyer                        an
11   attorney who is a member of the bar of this Court in good standing and who maintains an office
12   within the State of California.
       MY ADDRESS OF RECORD:                                 LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
13    900 W. 48th Place, Suite 900                           One California Street, 3rd Floor
14    Kansas City, Missouri 64112                            San Francisco, CA 94111
       MY TELEPHONE # OF RECORD:                             LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
15    (816) 753-1000                                         (415) 421-3400
       MY EMAIL ADDRESS OF RECORD:                           LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
16    dowen@polsinelli.com                                   asteyer@steyerlaw.com
        I am an active member in good standing of a United States Court or of the highest court of
17   another State or the District of Columbia, as indicated above; my bar number is: MO#14629 .
18       A true and correct copy of a certificate of good standing or equivalent official document from said
     bar is attached to this application.
19      I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
     Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
         I declare under penalty of perjury that the foregoing is true and correct.
21
      Dated: 11/21/14                                                  Daniel D. Owen
22                                                                                   APPLICANT

23
                                     ORDER GRANTING APPLICATION
                                                                 S DISTRIC
                               FOR ADMISSION OF ATTORNEY PRO HAC VICE
24
                                                                             A     TE                  T
                                                                                                 C granted,
25       IT IS HEREBY ORDERED THAT the application of Daniel D.TOwen                             is
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     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
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                                                                        ED




26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
                                                                                                             RT
                                                                    UNIT




27   designated in the application will constitute notice to the party.
                                                                                                                 R NIA




     Dated:                                                                       DENIED
28
                                                              UNITED STATES DISTRICT/MAGISTRATEogers JUDGE
                                                                                      nzalez R
                                                                     NO




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                                                                                 Judge Yv
                                                                                                                 FO




     PRO HAC VICE APPLICATION & ORDER                                                                      October 2012
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